              Case 19-32329-bjh7 Doc 1 Filed 07/12/19                               Entered 07/12/19 15:19:26                 Page 1 of 6
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
     Northern
     ____________________                  Texas
                               District of _________________
                                          (State)
                                                                7
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.    Chapter of the                   Check one:
      Bankruptcy Code
                                       x
                                            Chapter 7
                                            Chapter 11


Part 2:      Identify the Debtor


2.    Debtor’s name                     Jupiter Marketing & Trading, LLC
                                       ______________________________________________________________________________________________________



3.    Other names you know              CMG Pipeline, LLC
                                       __________________________________________________
      the debtor has used in
      the last 8 years                 __________________________________________________
                                       __________________________________________________
      Include any assumed
      names, trade names, or
      doing business as names.

4.    Debtor’s federal
      Employer Identification          x Unknown
                                       
      Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.    Debtor’s address

                                        15851 Dallas Parkway, #650
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                                                                                      _________________________________________________
                                       _________________________________________________
                                                                                                      P.O. Box

                                       Addison
                                       ______________________________      TX
                                                                            _______ 75001
                                                                                    _________         _____________________________ _______ _________
                                       City                                 State    ZIP Code         City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                        Dallas
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


Official Form 205                                         Involuntary Petition Against a Non-Individual                                    page 1
              Case 19-32329-bjh7 Doc 1 Filed 07/12/19                             Entered 07/12/19 15:19:26                   Page 2 of 6

Debtor         Jupiter     Marketing & Trading, LLC
               _______________________________________________________
               Name
                                                                                                Case number (if known)_____________________________________




6.    Debtor’s website (URL)            www.jupitermlp.com
                                    _____________________________________________________________________________________________________




7.    Type of debtor
                                    x
                                        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    x None of the types of business listed.
                                    
                                     Unknown type of business.

9.    To the best of your           x
                                        No
      knowledge, are any
      bankruptcy cases                  Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                    
                                    x Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                    x The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                    
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a              x No
                                    
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


Official Form 205                                     Involuntary Petition Against a Non-Individual                                        page 2
Case 19-32329-bjh7 Doc 1 Filed 07/12/19   Entered 07/12/19 15:19:26   Page 3 of 6




                                            /s/ Joshua W. Wolfshohl
Case 19-32329-bjh7 Doc 1 Filed 07/12/19   Entered 07/12/19 15:19:26   Page 4 of 6
          Case 19-32329-bjh7 Doc 1 Filed 07/12/19                                        Entered 07/12/19 15:19:26                      Page 5 of 6



Debtor
               Jupiter Marketing & Trading, LLC                                                          Case number Ofknown)
               Name




   Name and mailing address of petitioner
                                                                                            Howard J. Klatsky
   Dupre Logistics, LLC
                                                                                           Printed name
   Name
   201 Energy Parkway, Suite 500                                                            Fee Smith
                                                                                           Firm name, if any
   Number     Street
   Lafayette                                   Louisiana            70508                   Three Galleria Tower, 13155 Noel Road, Suite 1000
                                                 State              ZIP Code               Number    Street
   City
                                                                                           Dallas                               TX           75240
                                                                                           City                                 State        ZIP Code
   Name and mailing address of petitioner's representative, if any
     Heather Chachere                                                                      Contact phone       972-980-3494 Email hklatsky@feesmith.corr
   Name
                                                                                           Bar number
                                                                                                           00786024
   201 Energy Parkway, Suite 500
    Number    Street
                                                                                           State            Texas
    Lafayette                                   Louisiana            70508
   City                                          State               ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on
                  M M / DD / YYYY                                                          Signature of attorney


                                                                                           Date signed
   Signature of petitioner or representative, including representative's title                                 MM / DD / YYYY




    Name and mailing address of petitioner
    King Operating Fund I LP                                                                 Jason R. Marlin
                                                                                           Printed name
    Name
    6142 Campbell Road, North Dallas Energy Centre                                         Locke Lord LLP
                                                                                           Firm name, if any
    Number     Street
                                                                                             2200 Ross Avenue, Suite 2800
    Dallas                                        Texas              75248
                                                                                            Number    Street
    City                                         State               ZIP Code
                                                                                            Dallas                               Texas       75201
                                                                                            City                                State        ZIP Code
    Name and mailing address of petitioner's representative, if any
                                                                                            Contact phone (214)740-8000EmaRimarlin@lockelord.com
     James R. Young
    Name
                                                                                            Bar number
                                                                                                               24050989
    6142 Campbell Road, North Dallas Energy Centre
    Number     Street                                                                                       Texas
                                                                                            State
    Dallas                                       Texas               75248
    City                                         State               ZIP Code


    I declare under penalty of perjury that the foregoing Is true and correct.

                        16Z (r9
                                                                                            Sig ature of attorney


                                                                                            Date signed     67 I 121,  261C
                                  resentative, including representative's title                              MM / DD / YYYY




                                                                 Involuntary Petition Against a Non-Individual                                page 4
Official Form 205
Case 19-32329-bjh7 Doc 1 Filed 07/12/19   Entered 07/12/19 15:19:26   Page 6 of 6
